Case 2:20-cv-08336-SDW-LDW Document 26 Filed 09/21/20 Page 1 of 2 PageID: 119

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 September 21, 2020                                                                   Walter M. Luers, Esq.*

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VIA CM/ECF

 Hon. Susan D. Wigenton, U.S.D.J.
 United States District Court
 District of New Jersey
 Martin Luther King Building
 50 Walnut Street
 Newark, New Jersey 07102

               Re:     Mazo, et al. v. Durkin, et al.
                       Docket No. 2:20-cv-08336-SDW-LDW

Dear Judge Wigenton:

                We represent the Plaintiff in the above-referenced action. Currently pending
before the Court is the motion to dismiss of Defendant Joanne Rajoppi, which is currently
returnable October 5, 2020, and has been adjourned once, and the time for us to file opposition
has not passed. On September 17, 2020, we requested that this motion be adjourned two motion
cycles to synchronize the motion return date of this motion with the motions to dismiss that we
anticipate the remaining defendants will file. On September 18, 2020, the Court denied our
request on the basis that “it is not clear that defendants Way, Maldonado, and Durkin will file
motions to dismiss.” (Docket Entry 24). However, the Court also stated that “Plaintiff may
request an extension to the extent he needs additional time to file an opposition, etc.” We
request that the motion to dismiss of Defendant Rajoppi be adjourned one motion cycle to
October 19, 2020, on the basis that counsel for Plaintiff requires additional time to prepare and
file opposition papers.

               All of the Defendants have consented to our request.

               If our request is granted, then the new date for Plaintiff to serve and file their
opposition papers to Rajoppi’s motion to dismiss would be October 5, 2020, and the new date for
Rajoppi to serve and file their reply papers would be October 13, 2020.
Case 2:20-cv-08336-SDW-LDW Document 26 Filed 09/21/20 Page 2 of 2 PageID: 120

Hon. Susan D. Wigenton, U.S.D.J.
Page 2 of 2
September 21, 2020

             Thank you for your consideration of our request.

                                                 Respectfully submitted,

                                                 /s/ Walter M. Luers

                                                 Walter M. Luers


cc:   Counsel of Record
